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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION


SECURITIES AND EXCHANGE
COMMISSION,

                            Plaintiff,
                                                  Civil Action File No.
                       v.

CLARENCE DEAN ALFORD,                             JURY DEMAND

                            Defendant.


                                 COMPLAINT

      Plaintiff Securities and Exchange Commission (“Commission”) alleges as

follows:

                                  SUMMARY

      1.     This case involves a fraudulent offering of securities by Clarence

Dean Alford (“Defendant” or “Alford”), a five-term former Georgia state

legislator and former member of the Georgia Board of Regents. From 2017 to

2019, Defendant fraudulently induced at least 100 investors, predominantly from

the Indian-American community, to invest at least $23 million in unregistered,

high-yield promissory notes (ranging from 12% to 34% annual rates of return)
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purportedly issued by Allied Energy Services, LLC (“Allied”).

      2.     Allied was an energy development company, and Alford served as

its Chief Executive Officer, President, and co-managing member since it was

formed in about 2004 through late 2019. Beginning in about 2014, Allied’s

energy-related business declined dramatically. As a result, Allied began

providing retrofit lighting services in 2016, which became its primary revenue

source.

      3.     Beginning as early as January 2017, Alford grossly misrepresented

to potential investors in the promissory notes, among other things, Allied’s

financial condition, leading investors to falsely believe that Allied was a robust

and thriving energy-related business. Defendant also misrepresented and

exaggerated Allied’s experience and expertise in developing various energy

projects to further entice prospective investors. As a result, he gave investors the

false impression that the investment opportunities that he offered purportedly

through Allied would be lucrative.

      4.     In an effort to conceal from Allied’s Chief Financial Officer and

co-managing member his solicitation of investors, Alford unilaterally and

surreptitiously opened a bank account in Allied’s name without the knowledge



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and consent of Allied’s CFO. Alford established sole control over the account,

which he used to deposit investors’ funds.

      5.     In addition to misrepresenting Allied’s financial condition, Alford

also falsely told potential investors that their funds would be used to finance

Allied’s development of a waste-to-energy-conversion project and to support a

purported solar energy program. Contrary to such representations, Defendant

knowingly used investor funds to pay personal expenses, including construction

costs associated with a multi-million dollar home, and to make interest

payments to earlier investors

      6.     Alford’s scheme collapsed in 2019. By April 2019, Alford missed

interest payments owed to several investors, and he thereafter failed to repay

investors’ principal. In October 2019, Alford was arrested by Georgia

authorities for racketeering and attempted theft charges. In February 2020,

Allied was forced into involuntary Chapter 7 bankruptcy in United States

Bankruptcy Court for the Northern District of Georgia.

                        JURISDICTION AND VENUE

      7.     The Commission brings this action pursuant to the authority

conferred upon it by Sections 20(b) and 20(d) of the Securities Act of 1933



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(“Securities Act”) [15 U.S.C. §§ 77t(b) and 77t(d)] and Section 21(d) of the

Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78u(d)].

      8.     This Court has jurisdiction over this action pursuant to Section

22(a) of the Securities Act [15 U.S.C. § 77v(a)] and Section 27(a) of the

Exchange Act [15 U.S.C. § 78aa(a)].

      9.     In connection with the transactions, acts, practices, and courses of

business described in this Complaint, Defendant, directly and indirectly, made

use of the means or instrumentalities of interstate commerce, of the mails,

and/or of the means and instruments of transportation or communication in

interstate commerce.

      10.    Venue is proper in this district as Defendant resides in this district.

                                     FACTS

A.    Defendant

       11. Clarence Dean Alford is a resident of Conyers and Eatonton,

Georgia. During all relevant periods, he was the President, Chief Executive

Officer, and a member of Allied Energy Services, LLC. He is a former five-

term member of the Georgia state legislature and a former member of the

Georgia Board of Regents.



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B.    Related Entity

      12.    Allied Energy Services, LLC, is a Georgia-organized company

with its principal place of business in Conyers, Georgia. During all relevant

periods, Allied provided lighting retrofit services to businesses and purported to

develop solar energy and waste-to-energy projects for municipalities. From in

or about 2004 until in or about October 2019, Alford was the CEO of Allied.

Since in or about 2013, Alford has been one of two members of Allied.

      13.    Beginning in about 2014, Allied’s business in energy development

projects declined significantly, and by 2016, Allied’s revenues were derived

primarily from providing lighting retrofit services.

      14.    In or about 2015, Allied began developing a project to convert

municipal solid waste into fuel, and it purportedly planned to build a waste-to-

energy conversion facility on the site of a landfill in Augusta, Georgia (the

“Augusta WTE Project”).

      15.    In 2017, Allied formed Augusta Waste-to-Energy, LLC (“Augusta

WTE LLC”) as a wholly owned subsidiary through which it continued

development of the Augusta WTE Project.




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      16.    In September 2017, Augusta WTE LLC entered a 20-year lease

with the Augusta Solid Waste Management Authority for a 10-acre site on a

city landfill in Augusta, Georgia. In about May 2018, Allied received approval

from the Augusta Economic Development Authority of Richmond County

(“DARC”) to issue up to $68 million in industrial revenue bonds to finance the

project. To date, Allied has not engaged a bond underwriter, and no bonds have

been sold.

      17.    Allied has been non-operational since at least November 2019.

Allied went into involuntary Chapter 7 bankruptcy on February 20, 2020, after

it failed to respond to an involuntary bankruptcy petition filed by five investors

in United States Bankruptcy Court for the Northern District of Georgia.

C.    Alford Enticed and Solicited Investors

      18.    From 2017 to 2019 (the “Relevant Period”), Defendant, without

the knowledge or consent of Allied’s other member, who was also Allied’s

CFO, issued promissory notes in Allied’s name to at least 100 persons,

predominantly from the Indian-American community, purportedly to finance

either the Augusta WTE Project (the “WTE Notes”) or Allied’s “Solar

Program” (the “Solar Notes”) (collectively, the “Notes”). Specifically, from



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January 2017 to September 2019, Defendant raised at least $23 million from

investors who purchased the Notes, which are securities.

      19.    Defendant told prospective investors that Allied was a profitable

and thriving energy-related business. Contrary to such representations,

Defendant knew that Allied’s business was struggling, forcing cuts in staffing

and resources beginning as early as 2014. Allied’s business was actually

conducted predominantly by its CFO, and nearly all of its revenue was derived

from providing retrofit lighting services from 2016 through 2019.

      20.    Alford took additional steps to fraudulently entice and retain

investors, including emailing at least one investor a purported financial

statement depicting false information about Allied’s financial condition.

      21.    The financial statement conveyed the false impression that it was

prepared (or at least reviewed) by an accounting firm by including on the cover

page of the financial statement the words, “Jones, McKnight & Edmonson,

P.C.[,] Certified Public Accounts [sic]”. In fact, that firm never reviewed or

prepared any financial statements for Allied.

      22.    As to the content of the financial statement, it conveyed falsely that

Allied had millions in assets and revenues from 2016 through 2018. The



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financial statement included a “Balance Sheet as of 12/31/18” showing total

assets of approximately $162 million (including $5 million in cash), and an

“Income Statement” showing that Allied generated “total gross revenue” of

approximately $33.8 million, $36.3 million, and $40.5 million in 2016, 2017,

and 2018, respectively. In fact, Allied’s federal tax returns reflected that,

during the same time period, it had less than $1 million in assets and far less in

“gross receipts,” declining to only $434,342 in 2018.

D.       Notes Purchased by Investors

         23.   Defendant offered and sold Notes purportedly in Allied’s name as

a means to invest in the Augusta Waste-to-Energy Project or its Solar Program,

and which purportedly offered and promised appealing rates of return to

investors.

         24.   Investors, predominantly from the Indian-American community,

bought individual Notes ranging from $25,000 to at least $825,000 each, with

many investors having purchased at least two Notes.

         25.   The Notes had rates of return ranging from 12% to 34% to be paid

monthly, quarterly, or annually, with nearly all of the Notes maturing in one

year.



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      26.       Many of the Notes depicted either a “corporate guarantee” by

Allied or Defendant’s “personal guarantee.” At least some of the WTE Notes

include an equity-conversion clause, which provides the option to convert

unpaid principal into equity shares of Augusta WTE LLC.

      27.       Aside from WTE Notes with the conversion clause, the faces of the

Notes do not indicate whether the corresponding investment was for the

Augusta WTE Project or the Solar Program. Many investors indicated which

Note they were purchasing by either emailing Defendant, writing it in the memo

line of their investment checks, or including it with their wire transfer

instructions.

      28.       Defendant advised some investors that they could invest as

individuals or pool funds among multiple investors by forming LLCs through

which to invest. Investors submitted their investments by either mailing a

check made payable to Allied or by wire transfer to a bank account for which

Alford provided wire instructions. In some instances, multiple members of a

family invested by pooling their funds and forming an LLC.

      29.       Allied’s business accounts have been maintained at Bank OZK (or

its predecessors) since at least 2008. Alford nevertheless instructed investors to



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wire their funds to an account at Bank of America (the “Allied Investor

Account”). Alford also deposited checks received from investors into that

account.

      30.    Alford had sole authority over the Allied Investor Account, which

he had surreptitiously opened in 2015 without the knowledge of Allied’s CFO

or any other Allied employee. On the account-opening documents, Alford

asserted falsely that Allied was a single member LLC of which he was the

managing member.

E.    Alford’s Misrepresentations Regarding Use of Funds

      31.    Regarding the WTE Notes, Alford represented orally to

prospective investors that their money would finance the costs to develop and

complete the waste-to-energy conversion facility at the project site. Alford

represented that the Augusta WTE Project would earn profits from sales of the

facility’s fuel outputs, and these profits would be shared by investors who

exercised the equity-conversion clause in their respective notes.

      32.    In promoting the Solar Notes, Alford represented that investors’

money would serve as the escrow funds Allied needed to secure contractual

rights to buy land on which Allied and its “solar partners” would develop solar-



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energy generation facilities for Georgia Power’s Advanced Solar Initiative

(“ASI”).

      33.    According to both a “Solar Business Plan” and a “Solar Proposal”

Alford emailed to prospective investors, for each solar project site Allied

secured “in escrow,” Allied would submit a bid on its solar partner’s behalf to

Georgia Power for the right to develop a solar-energy facility. If Allied’s bid

was selected, Allied would close on the project-site property on behalf of its

solar partner, who would in turn repay Allied the purchase price amount that

Allied had placed in escrow. If Allied’s bid was rejected, Allied would cancel

the land contract (or allow the contractual purchase option to expire) and

withdraw the funds from the escrow account. In either case, investors were told

that Allied would return the principal of the escrow funds to them.

      34.    According to the Solar Business Plan, regardless of whether

Allied’s bid was selected, Allied would receive a “bid fee” from its solar

partner, and there was “no risk to funds in the escrow account.”

      35.    The Solar Business Plan stated that Allied had “teamed up” and

had “partnerships” with several “international solar companies,” including

Enerparc and SunEarth.



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      36.    In fact, Alford knew that Allied never had an agreement or

partnership with any of the solar companies listed in the Solar Business Plan.

      37.    The Solar Business Plan stated that Allied had developed “utility

scale” solar projects, meaning that the projects could produce sufficient energy

to service large numbers of people.

      38.    In fact, Alford knew that Allied never had the ability or expertise

to develop utility scale solar projects.

      39.    The Solar Business Plan stated that Allied spent $2,750,000 in

2017 “locating, researching, and preparing bids” on 23 properties for 2018; and

had received approximately $20 million in bid fees from its “solar partners”

over the prior three years.

      40.    In fact, Alford knew that Allied did not spend anything close to

$2.7 million preparing solar-project bids in 2017, and never had a consecutive

three-year period in which it received $20 million in fees of any kind.

      41.    Alford represented to prospective investors that funds invested in

the Solar Program would be kept separate from the WTE Note proceeds.




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      42.    Alford represented to prospective investors that proceeds from the

WTE Notes would be used to develop and build the waste-to-energy facility in

Augusta, Georgia.

      43.    Alford represented to prospective investors that funds invested in

the Solar Program would always be kept in escrow and held in a no risk escrow

account that cannot move until Georgia Power’s ASI awarded Allied a specific

solar project, and that the bid fees would enable Allied to pay the promised

interest on the Solar Notes.

      44.    In fact, Alford knew that the Solar Note proceeds were not kept

separate from the WTE Note proceeds. Alford also knew that all investor funds

were commingled in the Allied Investor Account, which was not an escrow

account. Upon information and belief, none of the investor funds were ever

deposited into an escrow account.

F.    Alford’s Misappropriation and Misuse of Investors’ Funds

      45.    Rather than using the approximately $23 million in investor funds

to pay development costs for the Augusta WTE Project or as escrow funds for

Solar Program projects, Alford misappropriated the majority of these funds for

unrelated purposes.



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      46.    Alford sent approximately $5.79 million of investor funds to his

personal bank accounts (of which approximately $65,000 was subsequently

used to purchase a Tesla and $910,800 was paid to the architect and builder of

his multi-million dollar house in Utah), used approximately $380,000 to pay his

personal credit card bills, sent $264,540 directly to the builder of his multi-

million dollar house, made approximately $51,320 in cash withdrawals, and

contributed $13,900 to political campaigns.

      47.    In addition to the investor funds diverted to his personal bank

account and for other personal purposes, Alford also spent approximately $1.5

million of investor funds to finance an unrelated food-distribution venture, sent

approximately $784,000 to an unrelated company he owns, and spent

approximately $7.6 million to repay outstanding debts he incurred on Allied’s

behalf before the Relevant Period.

      48.    Alford also spent approximately $2.6 million of investor funds to

make interest payments to investors during the Relevant Period.

G.    Alford Defaults on Investors’ Notes and His Scheme Collapses

      49.    By April 2019, many of the Notes were in default. In response to

investor questions about missed interest payments, Alford told several investors



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that payments had been or would be mailed to them. These investors either

never received the payments Alford claimed to have mailed, or the checks they

received bounced when they tried to deposit them.

      50.    At a meeting in Columbus, Georgia in June 2019, Alford attempted

to convince nearly 20 investors in attendance to extend their overdue Notes

until December 31, 2019, and to invest in ongoing solar projects for purported

returns of 15% annualized interest. Alford represented that, among other

things, the DARC-approved industrial revenue bonds would be sold within the

next two months to provide additional financing for the Augusta WTE Project,

and that Allied did not have a money problem.

      51.    In fact, as of the date of this complaint, the bonds have still not

been underwritten, marketed, or sold.

      52.    During the June 2019 meeting, Alford said investors seeking

immediate repayment would be paid in full by August 30, 2019, while those

extending their Notes would be paid quarterly interest by July 31, 2019. In fact,

neither type of payment was made.

      53.    On or about September 30, 2019, Alford met with several investors

in Augusta, Georgia. In addition to repeating his false claims that the Solar



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Program investments were in escrow and cannot be touched, he claimed that the

Note defaults were due in part to violations of a cash coverage covenant on a

loan Allied had obtained from Bank of America for a solar project.

      54.    Upon information and belief, Allied did not have a loan with Bank

of America for a solar project during the Relevant Period.

      55.    On October 15, 2019, after news of Alford’s arrest was widely

reported, Alford’s investors received an email purportedly from an Allied

employee who announced that Alford had resigned as CEO, and that the

company was taking steps to pay investors the amounts that they were owed.

      56.    Upon information and belief, Alford sent the October 15, 2019

email under the guise of another email address.

                                     COUNT I

              Violations of Section 17(a)(1) of the Securities Act
                            [15 U.S.C. § 77q(a)(1)]

      57.    Paragraphs 1 through 56 above are hereby realleged and are

incorporated by reference.

      58.    Between approximately January 2017 and September 2019,

Defendant, in the offer and sale of the securities described herein, by the use of

means and instruments of transportation and communication in interstate


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commerce and by use of the mails, directly and indirectly, employed devices,

schemes and artifices to defraud purchasers of such securities, all as more

particularly described above.

      59.    Defendant knowingly, intentionally, and/or recklessly engaged in the

aforementioned devices, schemes and artifices to defraud.

      60.    While engaging in the course of conduct described above, Defendant

acted with scienter, that is, with an intent to deceive, manipulate or defraud or

with a severe reckless disregard for the truth.

      61.    By reason of the foregoing, Defendant, directly and indirectly,

violated and, unless enjoined, will continue to violate Section 17(a)(1) of the

Securities Act [15 U.S.C. § 77q(a)(1)].

                                    COUNT II

        Violations of Sections 17(a)(2) and (a)(3) of the Securities Act
                      [15 U.S.C. §§ 77q(a)(2) and (a)(3)]

      62.    Paragraphs 1 through 61 are hereby realleged and are incorporated

by reference.

      63.    Between approximately January 2017 and September 2019,

Defendant, in the offer and sale of securities described herein, by use of means

and instruments of transportation and communication in interstate commerce


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and by use of the mails, directly and indirectly:

             a.     obtained money and property by means of untrue statements

      of material fact and omissions to state material facts necessary in order to

      make the statements made, in light of the circumstances under which they

      were made, not misleading; and

             b.     engaged in transactions, practices and courses of business

      which would and did operate as a fraud and deceit upon the purchasers of

      such securities, all as more particularly described above.

      64.    By reason of the foregoing, Defendant, directly and indirectly, has

violated and, unless enjoined, will continue to violate Sections 17(a)(2) and

17(a)(3) of the Securities Act [15 U.S.C. §§ 77q(a)(2) and 77q(a)(3)].

                                   COUNT III

      Violations of Section 10(b) and Rule 10b-5 of the Exchange Act
               [15 U.S.C. § 78j(b) & 17 C.F.R. § 240.10b-5]
      65.    Paragraphs 1 through 64 above are hereby realleged and

incorporated by reference.

      66.    Between approximately January 2017 and September 2019,

Defendant, in connection with the purchase and sale of securities described

herein, by the use of the means and instrumentalities of interstate commerce and


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by use of the mails, directly and indirectly:

             a.     employed devices, schemes, and artifices to defraud;

             b.     made untrue statements of material facts and omitted to state

     material facts necessary in order to make the statements made, in light of the

     circumstances under which they were made, not misleading; and

             c.     engaged in acts, practices, and courses of business which

     would and did operate as a fraud and deceit upon the purchasers of such

     securities, all as more particularly described above.

      67.    Defendant knowingly, intentionally, and/or recklessly engaged in the

aforementioned devices, schemes and artifices to defraud, made untrue statements

of material facts and omitted to state material facts, and engaged in fraudulent

acts, practices and courses of business. In engaging in such conduct, Defendant

acted with scienter, that is, with an intent to deceive, manipulate or defraud or

with a severe reckless disregard for the truth.

      68.    By reason of the foregoing, Defendant, directly and indirectly, has

violated and, unless enjoined, will continue to violate Section 10(b) of the

Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 thereunder [17 C.F.R.

§ 240.10b-5].



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                            PRAYER FOR RELIEF

      WHEREFORE, the Commission respectfully prays for:

                                          I.

      Findings of fact and conclusions of law pursuant to Rule 52 of the Federal

Rules of Civil Procedure, finding that Defendant committed the violations

alleged herein.

                                         II.

      Permanent injunctions enjoining Defendant from violating, directly or

indirectly, or aiding and abetting violations of the laws and rules alleged in this

complaint.

                                         III.

      A permanent injunction enjoining Defendant from, directly or indirectly,

including, but not limited to, through any entity owned or controlled by

Defendant, participating in the issuance, purchase, offer, or sale of any security,

provided, however, that such injunction shall not prevent Defendant from

purchasing or selling securities listed on a national securities exchange for his

own personal accounts.

                                                IV.




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      An order requiring the disgorgement by Defendant of all ill-gotten gains or

unjust enrichment with prejudgment interest, to effect the remedial purposes of

the federal securities laws.

                                        V.

      An order pursuant to Section 20(d) of the Securities Act [15 U.S.C.

§ 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C. § 78u(d)(3)]

imposing civil penalties against Defendant.

                                       VI.

      Such other and further relief as this Court may deem just, equitable, and

appropriate in connection with the enforcement of the federal securities laws and

for the protection of investors.

                               JURY TRIAL DEMAND

      The Commission hereby demands a jury trial as to all issues so triable.

This 30th day of July, 2020.


                           /s/ M. Graham Loomis
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